                    Case 23-11240-TMH         Doc 122        Filed 09/15/23    Page 1 of 1



                                 UNITED STATES DEPARTMENT OF JUSTICE
                                 OFFICE OF THE UNITED STATES TRUSTEE
                                         DISTRICT OF DELAWARE

IN THE MATTER OF:                                        :        Chapter 11
                                                         :
AmeriFirst Financial, Inc., et al.,                      :        Case No. 23- 11240 (TMH)
                                                         :
                                                         :        Jointly Administered
                                                         :        NOTICE OF APPOINTMENT OF
          Debtors.                                       :        COMMITTEE OF UNSECURED
----------------------------------                       :        CREDITORS


       Pursuant to Section 1102(a)(1) of the Bankruptcy Code, I hereby appoint the following persons to
the Committee of Unsecured Creditors in connection with the above captioned cases:

1.                 Kristen Rahn, Phone: 480-636-6126; Krisrahn@gmail.com

2.                 Mortgageshots, LLC, Attn: Kian Ramsay; 479 Mason St., Suite 213, Vacaville, CA 95688;
                   Phone: 925-818-1167; kian@mortgageshots.com

3.                 Paragon Micro, Inc., Attn: Todd Cowen, 2 Corporate Drive, Suite 105, Lake Zurich, IL
                   60047; Phone: 874-644-3401; tcowen@paragonmicro.com




                                                 ANDREW R. VARA
                                                 United States Trustee, Region 3


                                                  /s/Linda Richenderfer for
                                                 JOSEPH J. MCMAHON, JR.
                                                 ASSISTANT UNITED STATES TRUSTEE

DATED: September 15, 2023

Attorney assigned to this Case: Linda Richenderfer, Esq., Phone: (302) 573-6491
Debtors’ Counsel: Laura Davis Jones, Esq., Phone: 302-778-6401
